Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 1 of 9 PageID #:28191




                            Exhibit C
           Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 2 of 9 PageID #:28192




From:                             Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent:                             Saturday, October 05, 2019 10:02 AM
To:                               'McKenna, Elizabeth'; Provance, Matthew D.; Wedgworth, Peggy; SERVICE-EXTERNAL-
                                  DMS-MDL
Cc:                               Miller, Britt M.; Ryan, Mark; Fenske, Daniel T.; Aundrea K Gulley; Brian T. Ross; Brice
                                  Wilkinson
Subject:                          RE: In re DMS, 18-cv-864 (N.D. Ill.) - Expert Depositions


**EXTERNAL SENDER**

Matt,

Subject to the reservations in our email below – we do not agree to a two‐day deposition for Mark Israel, or to multiple
depositions of the same expert – we have been working with Mr. Israel on his availability. He is teaching the entire
week of January 6‐10, and is not available any day that week. But he is available on January 16. If Defendants accept
this date, then we have reserved January 17 so that the deposition can proceed depending on how the scheduling issues
are resolved.

Please let us know at your earliest convenience if January 16 will work given the many demands on Mr. Israel’s time.

Thanks,
Mike

From: McKenna, Elizabeth [mailto:emckenna@milberg.com]
Sent: Friday, October 4, 2019 3:42 PM
To: Provance, Matthew D. <MProvance@mayerbrown.com>; Wedgworth, Peggy <pwedgworth@milberg.com>;
Nemelka, Michael N. <mnemelka@kellogghansen.com>; SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐
MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: [EXTERNAL] RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

Matt,

Plaintiffs are not in violation of the Deposition Protocol (ECF No. 422) which clearly only applies to depositions
conducted during fact discovery – it is disingenuous to suggest otherwise. In fact, the only document referencing experts
is the schedule dates contained in the Second Stipulated Amended Case Management Order (ECF No. 739), which has
not yet been entered by the Court. Moreover, we have been working in good faith to resolve the threshold issues that
are necessary to get the depositions on the calendar, and have been engaging in ongoing discussions with you. Once
these issues are resolved, we are happy to move forward with scheduling the depositions.

As for other issues raised in your email, citing to defense emails as somehow definitive of all parties’ positions on a
subject is tenuous at best. As you’re well aware, there was much compromise from all parties on the expert discovery
schedule, for the various reasons stated by the parties in emails and discussions prior to submission of the proposed
schedule.



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            Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 3 of 9 PageID #:28193

We request that you clarify your statement: “Defendants do not agree to Plaintiffs’ proposal as written: ‘No expert
testimony will be admissible against another party unless that party had the opportunity to cross-examine that
expert. Mere attendance at a deposition does not qualify as an opportunity for cross-examination.’ Rather, again as stated
in my September 26th email, Defendants are prepared to agree that an expert’s deposition testimony will not be
admissible at trial in any case in which that expert was not disclosed as an expert.” Given this statement, if a party has not
had an opportunity to cross-examine an expert because that expert was not disclosed as an expert in that party’s case, in
what situations do you foresee using that expert’s deposition testimony in that party’s case? You refuse to agree to what
appears to be a common-sense application that no expert testimony will be admissible against another party if that party
did not have the opportunity to cross-examine that expert.

We renew our proposal that no expert testimony will be admissible against another party unless that party had the
opportunity to cross‐examine that expert. The following chart illustrates our proposal:

          Expert Deponent             Deposition Testimony may be          Only these MDL parties may
                                       used only in this/these MDL         examine or object during the
                                                  case(s)                           deposition
 Williams                            Dealer Case                          CDK, Dealers
 Israel                              Authenticom, MVSC, Vendor            CDK, Reynolds, Authenticom,
                                     Case                                 MVSC, Vendors
 Stejskal                            Authenticom, MVSC, Vendor            CDK, Reynolds, Authenticom,
                                     Case, Dealer Case                    MVSC, Vendors, Dealers
 Lawton                              MVSC                                 CDK, Reynolds, MVSC
 Halpin                              Authenticom, MVSC, Vendor            Vendors, CDK, Reynolds,
                                     Case                                 Authenticom
 Rubinfeld                           Authenticom, Dealer Case             CDK, Reynolds, Authenticom,
                                                                          Dealers
 Stroz                               Authenticom, Vendor Case,            CDK, Reynolds, Authenticom,
                                     Dealer Case                          Vendors, Dealers
 Tenaglia                            Authenticom, Vendor Case,            CDK, Reynolds, Authenticom,
                                     Dealer Case                          Vendors, Dealers
 Klein                               MVSC                                 CDK, Reynolds, MVSC
 Schneck                             Authenticom                          Reynolds, Authenticom

On the issue of deposing experts twice/for two days, our position remains the same as discussed in our October 2
response that the Federal Rules do not permit multiple depositions of the same individual absent court order or
agreement of the parties. Fed. R. Civ. P. 30(a)(2)(A)(ii). Indeed, Andi’s email, which you quote in your email below (“[T]he
parties reserve the right (but not the obligation) to take depositions of opening experts between August 26 and October
24 (and similarly reserve the right to take these depositions after reply reports on 11/25 instead).”) (emphasis added),
contemplates that, in the absence of a future agreement or court order, each expert will be deposed only once. Whether
Defendants choose to proceed on the basis that certain experts may be deposed twice/for two days is up them, but our
position stands and we will object to all such requests.

Regards,
Peggy and Mike

From: Provance, Matthew D. <MProvance@mayerbrown.com>
Sent: Thursday, October 3, 2019 1:44 PM
To: Wedgworth, Peggy <pwedgworth@milberg.com>; Nemelka, Michael N. <mnemelka@kellogghansen.com>; SERVICE‐
EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
                                                              2
          Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 4 of 9 PageID #:28194

Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: [EXTERNAL] RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

Dear Peggy and Mike –

Thanks for your response. Nearly two weeks ago, we asked to schedule depositions for three Plaintiff experts: Michael
Williams, Alan Stejskal, and Mark Israel. Under the Deposition Protocol, Plaintiffs should have responded to Defendants’
requested dates within 5 days. Having failed to do so, Plaintiffs are once again in violation of the Court’s Order. Moreover,
the multitude of issues that Plaintiffs have attempted to raise since then are not well-taken, and none of them excuses
Plaintiffs’ continued delay in scheduling their experts’ depositions.

First, on the issue of whether any expert initially deposed before the current reply report deadline may be subject to a
continued deposition depending on the contents of his or her reply report, we refer you to what is clearly stated in the
record:

        “[T]he parties reserve the right (but not the obligation) to take depositions of opening experts between August 26
        and October 24 (and similarly reserve the right to take these depositions after reply reports on 11/25 instead). But
        for the compromise schedule to work, we would expect that some opening experts would be deposed before
        October 24. Each party reserves all rights with respect to that issue, but all parties agree that if they choose to
        take an opening expert deposition before 10/24, there is the possibility of a reply-report-related deposition to
        address reply issues.”

7/29/2019 email from A. Gulley to MDL Service List. Defendants’ agreement to a joint submission of the current expert
discovery schedule was expressly subject to the parties’ understanding on this point. Id.

If Plaintiffs are now taking the position that no expert may be deposed more than once, regardless of circumstances, then
the record speaks for itself, and Defendants reserve all rights to raise the issue with the Court at the appropriate time.
However, whatever disagreement apparently may now exist between the parties on this issue, such disagreement does not
in any way create an impediment to scheduling the depositions of Mr. Stejskal and Drs. Israel and Williams, as Defendants
have requested.

Second, you ask Defendants to confirm that “counsel for any party in the MDL may attend any expert deposition, but a
party’s counsel may participate (i.e., question or object) only if the expert has been offered as an expert witness in a case in
which that party is currently named,” but that point was confirmed already in our September 26th email. You then ask us
to confirm that “mere attendance at a deposition does not qualify as an opportunity for cross examination.” Although, we
generally agree that a party’s attendance at a deposition where that party is prohibited from participating (i.e., question or
object) does not qualify as an opportunity for cross examination, that point is irrelevant given Defendants’
counterproposal on point #3 to which Plaintiff have yet to respond. As stated in my September 26th email, Defendants do
not agree to Plaintiffs’ proposal as written: “No expert testimony will be admissible against another party unless that party
had the opportunity to cross-examine that expert. Mere attendance at a deposition does not qualify as an opportunity for
cross-examination.” Rather, again as stated in my September 26th email, Defendants are prepared to agree that an
expert’s deposition testimony will not be admissible at trial in any case in which that expert was not disclosed as an expert.
We believe that covers the issue and that the agreement does not turn on whether or not attendance provides an
opportunity to cross-examine a witness. Accordingly, we continue to await Plaintiffs’ confirmation. Regardless, even if
there are remaining questions or requests for clarification, it is no reason for Plaintiffs to further delay in scheduling their
experts’ depositions.

Third, Plaintiffs have no basis to demand that discussions about the length of Dr. Israel’s deposition must take place on a
“reciprocal” basis with regard to the depositions of Defendants’ forthcoming rebuttal experts. The number of days that are
appropriate and proportional for each expert’s deposition depend on that expert and that expert only. Given the number
of cases in (and the number of issues for) which Dr. Israel’s report is being proffered, two days of deposition is reasonable.
Plaintiffs’ insistence on “reciprocal” discussions that could not meaningfully take place before the current rebuttal expert
deadline appears in our view to be a transparent attempt to delay the scheduling of Dr. Israel’s deposition. If Plaintiffs will

                                                               3
            Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 5 of 9 PageID #:28195

not agree to a two-day deposition absent Court involvement, then at the very least they should reserve two consecutive
days in Dr. Israel’s schedule during the requested week of January 6-10, 2020, so that his deposition can proceed once this
issue is resolved. Please confirm that he is available.

Fourth, given Plaintiffs’ continued delay in scheduling the deposition of Dr. Williams, October 9th (less than a week from
now) is now off calendar. Please confirm that his deposition will go forward on October 16th so that counsel can make
appropriate travel arrangements.

Regards,
Matt

_________________________________________________________________________________________
Matthew Provance
Partner
Mayer Brown LLP
71 S. Wacker Drive
Chicago, Illinois 60606
T +1 312 701-8598
LinkedIn | Twitter
mayerbrown.com


From: Wedgworth, Peggy <pwedgworth@milberg.com>
Sent: Wednesday, October 2, 2019 3:33 PM
To: Provance, Matthew D. <MProvance@mayerbrown.com>; Nemelka, Michael N. <mnemelka@kellogghansen.com>;
SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

**EXTERNAL SENDER**

Matt,

We disagree with a number of your assertions below including the assertion that an agreement exists that an expert
might be “subject to an additional deposition…” We had several conversations (some of which you were not present)
where many possibilities were discussed but no agreement was made regarding expert depositions except as to
schedule. There is no record of any such agreement, because there was none. We take issue that any expert should be
deposed twice. Indeed, the Federal Rules of Civil Procedure do not permit multiple depositions of the same individual
absent court order or agreement of the parties. See Fed. R. Civ. P. 30(a)(2)(A)(ii). Your concern that the current schedule
will not accommodate all depositions would be aggravated by your attempt to depose an expert twice. As to
scheduling, enough time is available for all depositions (each expert being deposed once). No expert should have to be
deposed twice without court order. Should additional time be needed to complete all expert depositions (with
agreement to one deposition per expert), the schedule is flexible enough that depositions could spill into the following
week past the currently proposed deadline.

As to points 2 and 3, It appears we have agreement that counsel for any party in the MDL may attend any expert
deposition, but a party’s counsel may participate (i.e., question or object) only if the expert has been offered as an
expert witness in a case in which that party is currently named, and mere attendance at a deposition does not qualify as
an opportunity for cross examination. Please confirm that Defendants agree.

With respect to Mr. Israel’s deposition, we disagree that more than one day would be required, and your explanation
does not provide any basis for a two‐day deposition. And even if two‐days were appropriate, it would need to be

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            Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 6 of 9 PageID #:28196

reciprocal. That is why we asked whether Defendants will be sharing experts or have their own. Contrary to your
statement, we did not ask for “a preview of [Defendants’] yet‐to‐be disclosed rebuttal expert reports.” Instead, we
asked: “Are CDK and Reynolds each tendering their own rebuttal report to Mr. Israel, or are they providing a single
report on behalf of both Defendants?” and “Similarly, will Defendants have a single report that responds to both Mr.
Israel and Mr. Williams, or separate reports?” The topic of one or two‐day depositions should be discussed on a
reciprocal basis, not a one‐way basis, and we think answers to those questions are necessary to start the conversation.

Thanks,
Peggy and Mike


Peggy Wedgworth, Esq.
Partner




One Pennsylvania Plaza, Suite 1920
New York, New York 10119
Main: 212‐594‐5300
Direct: 646‐515‐1269

Link to Bio

From: Provance, Matthew D. <MProvance@mayerbrown.com>
Sent: Friday, September 27, 2019 12:17 PM
To: Nemelka, Michael N. <mnemelka@kellogghansen.com>; SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐
MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: [EXTERNAL] RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

Counsel –

While you consider our response, please note that given the fact that it is now a week out from October 4th, we are no
longer available to proceed with the deposition of Michael Williams on that date. Our request to depose Mr. Williams on
either October 9th or October 16th stands, and we reiterate our request that Plaintiffs confirm a date for his deposition as
soon as possible.

Thanks,
Matt

_________________________________________________________________________________________
Matthew Provance
Partner
Mayer Brown LLP
71 S. Wacker Drive
Chicago, Illinois 60606
T +1 312 701-8598
LinkedIn | Twitter
mayerbrown.com



                                                                5
          Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 7 of 9 PageID #:28197

From: Provance, Matthew D.
Sent: Thursday, September 26, 2019 8:48 AM
To: 'Nemelka, Michael N.' <mnemelka@kellogghansen.com>; SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐
MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

Mike, thanks for your note. In response to Plaintiffs’ proposals:

1. You asked Defendants to confirm that “all experts in this MDL will be deposed only once.” We are not aware of any
such agreement between the parties. To the contrary, as we discussed with Derek Ho and Peggy Wedgworth in our meet
and confers earlier this summer regarding the schedule in this case, both sides recognized that in order for the
compromise schedule to work, any expert who was deposed before submitting a reply report would be potentially
subject to an additional deposition, though perhaps limited in scope or duration, to the extent that the expert disclosed
new analyses on reply that went beyond the appropriate scope of rebuttal. See also 7/29/19 email from A. Gulley to
MDL Service List (reiterating that a compromise schedule was conditioned on “all parties agree[ment] that if they
choose to take an opening expert deposition before 10/24, there is the possibility of a reply‐report‐related deposition to
address reply issues.”). In asking for the depositions of Michael Williams and Alan Stejkal before the current reply report
deadline, Defendants do not intend to waive any of their rights in this regard. It is simply a reality that the period
between expert rebuttal and reply deadlines and January 10, 2020 (the current deadline to complete expert discovery)
will not reasonably accommodate a full deposition of every expert who has been or will be disclosed by the parties in
this litigation, particularly with the intervening holidays.

Defendants note that if Plaintiffs intend to rescind the agreement regarding reply‐related depositions of experts
deposed before replies, Defendants reserve their right to withdraw their request for depositions before replies and, as
noted this summer, request from you (or the court if necessary) a longer period for expert depositions after replies and
an extension of the rest of the schedule to accommodate that period.

2. Defendants will agree to your proposal, i.e., counsel for any party in the MDL may attend any expert deposition, but a
party’s counsel may participate (i.e., question or object) only if the expert has been offered as an expert witness in a
case in which that party is currently named.

3. Defendants do not agree to your proposal as phrased, but believe that we are agreed in principle. Defendants are
prepared to agree that an expert’s deposition testimony will not be admissible at trial in any case in which that expert
was not disclosed as an expert. Together with #2 above, this should cover the issue. Please let us know if the parties are
in agreement.

In response to Plaintiffs’ questions:

1. We believe that two days will be necessary for Defendants to complete the deposition of Mark Israel for the following
reasons, among others: He is disclosed as Plaintiffs’ liability expert in three separate cases (Authenticom, MVSC, and
AutoLoop), two of which are pending against both Defendants. In addition, Mr. Israel has been disclosed as the putative
vendor class’s damages expert. His report is voluminous, exceeding 120 pages exclusive of charts and tables. And the
econometric models that Israel puts forth include more than 200 GB of backup. Under the circumstances, we believe
that Defendants’ request is reasonable and proportional to the needs of the case.

2‐3. Defendants do not believe that a preview of their yet‐to‐be disclosed rebuttal expert reports is necessary for
Plaintiffs to schedule depositions of their own experts. The number or content of the reports that Defendants’ experts
will submit in rebuttal has no bearing on the timing or duration of Plaintiffs’ experts’ depositions. As we discussed with
Mr. Ho and Ms. Wedgworth this summer, in order to ensure that the very limited (and holiday‐ridden) time period for
                                                             6
            Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 8 of 9 PageID #:28198

depositions is sufficient, we will need you to confirm these dates in the near term. And we ask that you do not delay
further in responding regarding these dates. It is inappropriate for Plaintiffs to hold up the process of scheduling their
own experts’ depositions by demanding that Defendants provide a preview into what Defendants’ experts are going to
address in rebuttal.

_________________________________________________________________________________________
Matthew Provance
Partner
Mayer Brown LLP
71 S. Wacker Drive
Chicago, Illinois 60606
T +1 312 701-8598
LinkedIn | Twitter
mayerbrown.com


From: Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent: Friday, September 20, 2019 10:56 AM
To: Provance, Matthew D. <MProvance@mayerbrown.com>; SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐
MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: RE: In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

**EXTERNAL SENDER**

Matt,

In response to your email request concerning expert depositions, please confirm:

     1. All parties agree that all experts in this MDL will only be deposed once.

     2. Counsel for any party in the MDL may attend any expert depo, but a party’s counsel may participate (i.e.,
        question or object) only if the expert has been offered as an expert witness in a case in which that party is
        currently named (i.e., Dealer class plaintiffs may not question Reynolds’ experts, and Reynolds may not question
        Dealer class plaintiffs’ experts).

     3. No expert testimony will be admissible against another party unless that party had the opportunity to cross‐
        examine that expert. Mere attendance at a deposition does not qualify as an opportunity for cross‐examination,
        in accordance with #2 above.

We also have the following questions:

     1. What is the basis for Defendants’ request for two days for Mark Israel’s deposition? You provide no explanation.

     2. And so that we can evaluate Defendants’ request, we’ll need to know what Defendants are planning with
        respect to their rebuttal reports on antitrust and economic issues. Are CDK and Reynolds each tendering their
        own rebuttal report to Mr. Israel, or are they providing a single report on behalf of both Defendants?

     3. Similarly, will Defendants have a single report that responds to both Mr. Israel and Mr. Williams, or separate
        reports?

Thanks,
                                                                7
            Case: 1:18-cv-00864 Document #: 771-3 Filed: 10/14/19 Page 9 of 9 PageID #:28199

Mike and Peggy



From: Provance, Matthew D. [mailto:MProvance@mayerbrown.com]
Sent: Thursday, September 19, 2019 11:08 AM
To: SERVICE‐EXTERNAL‐DMS‐MDL <SERVICE‐EXTERNAL‐DMS‐MDL@lists.kellogghansen.com>
Cc: Miller, Britt M. <BMiller@mayerbrown.com>; Ryan, Mark <MRyan@mayerbrown.com>; Fenske, Daniel T.
<DFenske@mayerbrown.com>; Aundrea K Gulley <agulley@gibbsbruns.com>; Brian T. Ross <bross@gibbsbruns.com>;
Brice Wilkinson <bwilkinson@gibbsbruns.com>
Subject: [EXTERNAL] In re DMS, 18‐cv‐864 (N.D. Ill.) ‐ Expert Depositions

Dear Counsel –

Defendants write to request depositions of three of Plaintiffs' disclosed experts in the following date ranges:

1. Michael Williams – October 4, October 9, or October 16, 2019
2. Allan Stejkal – November 4-8, 2019
3. Mark Israel – January 6-10, 2020

Defendants believe that two consecutive days (14 hours) to complete their respective examinations of Dr. Israel is
appropriate and proportional, and we are requesting dates for him now, well in advance, in an effort to avoid any conflicts
with prior commitments in his schedule.

We will revert with our requested dates for the depositions of Plaintiffs’ remaining experts shortly.

Regards,
Matt Provance
_________________________________________________________________________________________
Matthew Provance
Partner
Mayer Brown LLP
71 S. Wacker Drive
Chicago, Illinois 60606
T +1 312 701-8598
LinkedIn | Twitter
mayerbrown.com




__________________________________________________________________________
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